         Case 2:19-cv-00923-RDP Document 80 Filed 01/25/21 Page 1 of 2                            FILED
                                                                                         2021 Jan-25 AM 09:41
                                                                                         U.S. DISTRICT COURT
                           UNITED STATES DISTRICT COURT                                      N.D. OF ALABAMA
                      FOR THE NORTHERN DISTRICT OF ALABAMA
                                SOUTHERN DIVISION

 JOHN CHRISTOPHER COVEY,                       }
                                               }
        Plaintiff,                             }
                                               }
 v.                                            }   Case No.: 2:18-CV-01121-RDP
                                               }
 COLONIAL PIPELINE COMPANY, et                 }
 al.,                                          }
                                               }
        Defendants.                            }


 HUGH GERALD DELAUGHDER, JR., et }
 al.,                            }
                                 }
      Plaintiffs,                }
                                 }
 v.                              }                 Case No.: 2:19-CV-923-RDP
                                 }
 COLONIAL PIPELINE COMPANY, et   }
 al.,                            }
                                 }
      Defendants.                }


 BEVERLY KAY WILLINGHAM,                       }
 Individually and as Administratrix of the     }
 Estate of ANTHONY LEE                         }
 WILLINGHAM, deceased,                         }
                                               }
        Plaintiffs,                            }
                                               }
 v.                                            }   Case No.: 2:19-CV-01507-RDP
                                               }
 COLONIAL PIPELINE COMPANY, et                 }
 al.,                                          }
                                               }
        Defendants.                            }

                                          ORDER

       This case is before the court on Defendant L.E. Bell Construction Company, Inc. (“L.E.

Bell”)’s Amended Motion to Disqualify Counsel and for Related Sanctions. (Doc. # 116-1). After
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careful review, and for the reasons stated in the contemporaneously entered memorandum opinion,

the Motion (Doc. # 116-1) is GRANTED IN PART, DENIED IN PART. The court ORDERS

as follows:

         (1)      The parties to this suit, other than L.E. Bell and its counsel, SHALL NOT contact

                  Barker concerning these matters.

         (2)      Cochran SHALL turn over to the court all documents received from, concerning,

                  or related to Barker and not retain any copies of those documents.

         (3)      Cochran SHALL NOT discuss with anyone the contents of her conversations with

                  Barker until the conclusion of this litigation.

         (4)      The parties to this suit SHALL NOT call Barker as a witness, except upon motion

                  and for good cause shown.

         Furthermore, the court PRELIMINARILY CONCLUDES that L.E. Bell is entitled to

recover some but not all of the reasonable fees and costs it incurred related to this Amended Motion

to Disqualify Counsel and for Related Sanctions (Doc. # 116-1) and any earlier filings on the same

issue. The parties are FURTHER ORDERED to meet, confer, and submit to the court a joint

report on or before February 11, 2021, detailing whether they can agree about the payment of

reasonable fees and costs incurred by L.E. Bell.1 If the parties cannot resolve this issue, the court

will refer the matter to a magistrate judge.

         DONE and ORDERED this January 22, 2021.



                                                       _________________________________
                                                       R. DAVID PROCTOR
                                                       UNITED STATES DISTRICT JUDGE


          1
            As the parties discuss which fees and costs are reasonable, the court encourages the parties to keep in mind:
(1) there are findings of violations, (2) the court cautioned L.E. Bell that, after Barker was deposed, any future motion
to disqualify was based on dubious merit; (3) these proceedings have turned into a mini-trial lasting over a year; and
(4) L.E. Bell proved only part of its allegations set forth in its Motion.

                                                           2
